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VIA ECF

                                       August 17, 2023

Hon. Arun Subramanian, U.S. District Judge
United States District Court
Southern District of New York
500 Pearl Street, Courtroom 15A
New York, NY 10007
(212) 805-0238
SubramanianNYSDChambers@nysd.uscourts.gov

       Re:     Bonilla et al. v. Lucero Produce II Corp. & Saul Lucero
               Docket No. 22-CV-153 (AS) (KHP)

Dear Judge Subramanian:

         The New York Legal Assistance Group (“NYLAG”) represents Plaintiffs in the
above referenced matter. I write jointly with Defendants in response to the Court’s August
7, 2023 order requesting a Status Report by August 21, 2023 (Dkt. 48). The Parties request
an extension of the Court’s deadline of August 21, 2023 until after their settlement
conference before Magistrate Judge Katharine Parker on September 11, 2023 (Dkt. 47).
The is the Parties’ first request for an extension and, if granted will not affect any other
deadlines in this matter. The Parties request such an extension because they are engaging
in settlement discussions in anticipation of that conference and will be better positioned
to provide an update to Your Honor following their settlement conference before
Magistrate Judge Katharine Parker.

        In addition, NYLAG will soon be substituted by the law firm Getman Sweeney &
Dunn PLLC as Plaintiffs’ attorney. Anamaria Segura, who previously was employed by
NYLAG and served as Lead Attorney on this matter, has joined that firm effective May 1,
2023. In addition, Geno Nettle, who handled this matter for NYLAG effective October 4,
2022 when Ms. Segura went on parental leave, has left NYLAG effective August 16, 2022.
Plaintiffs desire to continue to be represented by Ms. Segura. Accordingly, Getman Sweeney
& Dunn expect to exclusively represent the Plaintiffs going forward, and are in the process
of formalizing their representation of the Plaintiffs. Anamaria Segura will be providing the
Court with a Change of Address within the next two weeks.

      Accordingly, given Plaintiffs’ anticipated change in counsel and the Parties’
upcoming settlement conference and ongoing negotiations, the Parties request an extension




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to provide the Court a full Status Report to a date of the Court’s choosing, following the
September 11, 2023 settlement conference.

                                    Respectfully submitted,

                                    /s/ Jill Maxwell
                                    Jill Maxwell, Esq.,
                                    Vice President, New York Legal Assistance Group
                                    Counsel for Plaintiffs


cc:    All counsel of record        The request for an extension is GRANTED. The status
                                    report originally due on August 21, 2023, will now be due
                                    on September 18, 2023. See ECF No. 48. The Clerk of
                                    Court is directed to terminate the motion at ECF No. 49.

                                    SO ORDERED.




                                    Arun Subramanian, U.S.D.J.
                                    Date: August 18, 2023
